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                           United States District Court
                                    WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE


     DUY T. MAI,
                                                             JUDGMENT IN A CIVIL CASE
                       Plaintiff,
                                                             CASE NUMBER: C17-561RAJ
              v.

     UNITED STATES OF AMERICA, et al.,

                       Defendants.



           Jury Verdict. This action came before the Court for a trial by jury. The issues have been
           tried and the jury has rendered its verdict.

     X     Decision by Court. This action came to consideration before the Court. The issues have
           been considered and a decision has been rendered.

THE COURT HAS ORDERED THAT

        For the reasons set forth in the Court’s order of February 8, 2018, Judgment is entered in
favor of Defendants United States of America; the Department of Justice; the Bureau of Alcohol,
Tobacco, Firearms and Explosives; the Federal Bureau of Investigation; Jefferson B. Sessions III,
as Attorney General; Andrew McCabe, as Acting Director of the Federal Bureau of
Investigation;1 and Thomas E. Brandon, as Acting Director of the Bureau of Alcohol, Tobacco,
Firearms and Explosives, against Plaintiff Duy T. Mai.

           DATED this 8th day of February, 2018.


                                                       WILLIAM M. McCOOL,
                                                       Clerk of the Court

                                                       By:     /s/ Victoria Ericksen
                                                                Deputy Clerk


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    Pursuant to Rule 25(d)(1) of the Federal Rules of Civil Procedure, Mr. McCabe is substituted for Mr. Comey.
